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                             UNITED STATES BANKRUPTCY COURT
                                DISTRICT OF MASSACHUSETTS
                                     CENTRAL DIVISION

                                                     )
 In re:                                              )                  Chapter 7
                                                     )                  Case No. 18-40869-CJP
 SCOTT RICHARD WEHMEYER AND                          )
 RACHEL RENEE WEHMEYER                               )
                                                     )
                   Debtors                           )

                         ORDER ON MOTION FOR RELIEF FROM STAY

           The Motion for Relief from the Automatic Stay [# 54] (the “Motion”) of Nationstar

Mortgage LLC d/b/a Mr. Cooper (the “Movant”) having come before the Court, due notice

appearing to have been given, no objection thereto having been filed, and good cause appearing

therefor, including the fact that the debtors have stated the intention to surrender the property that is

the subject of the Motion, it is hereby ORDERED that the Movant, including its successors and

assigns, is granted relief from the automatic stay provisions of 11 U.S.C. § 362 to allow it to

exercise its rights under its mortgage to conduct a foreclosure sale with respect to the property

located at 139 Shawn Avenue, Gardner, MA 01440, as more particularly described in the Motion,

and apply the proceeds from any sale of such property to the debtors’ loan balance secured by such

mortgage, or accept a deed in lieu of foreclosure on the property, and, if necessary, bring eviction

proceedings against the debtors, all in accordance with applicable state and federal law; and it is

further ORDERED that the Movant shall provide the trustee and the debtors with an accounting

regarding the sale within 30 days of the sale and all surplus funds after satisfaction of Movant’s

mortgage, if any, obtained by the Movant shall be remitted to the trustee upon written request by the

trustee or as may be directed by further order of the Court absent written direction provided by the

trustee.

           Entered this 15th day of October, 2018.             By the Court,

                                                               _______________________
                                                               Christopher J. Panos
                                                               United States Bankruptcy Judge
